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AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                               District
                                                       __________       of Arizona
                                                                  District of __________

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                                                                             )
                                                                             )
                              Plaintiff(s)                                   )
                                  v.                                         )
GRAND CANYON UNIVERSITY; GRAND CANYON                                        )
                                                                                     Civil Action No.
EDUCATION, INC.; GRAND CANYON UNIVERSITY CAMPUS                              )
POLICE AND PUBLIC SAFETY; BRIAN MUELLER; JOE
YAHNER; KENNY BYERS; MICHAEL MARTINEZ; Officer
                                                                             )
ROBINSON; Officer WASHINGTON; Sergeant BRISTLE; Sergeant                     )
WILEY; Officer M. GRUPE; and STEVE YOUNG,                                    )
Individually, and in their capacity as officers and agents for Grand
Canyon University and Grand Canyon University, INC.
                                                                             )
                            Defendant(s)                                     )

                                                       SUMMONS IN A CIVIL ACTION
                                             GRAND CANYON UNIVERSITY; GRAND CANYON EDUCATION, INC.; GRAND CANYON
To: (Defendant’s name and address)           UNIVERSITY CAMPUS POLICE AND PUBLIC SAFETY; BRIAN MUELLER; JOE YAHNER; KENNY
                                             BYERS; MICHAEL MARTINEZ; Officer ROBINSON; Officer WASHINGTON; Sergeant BRISTLE; Sergeant
                                             WILEY; Officer M. GRUPE; and STEVE YOUNG,


                                             2600 W. Camelback Road, Phoenix, AZ 85017




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: ÕÎ×ÍÌß Îò ØÛÓÓ×ÒÙ Û­¯ô ÌØÛ ØÛÓÓ×ÒÙ Ú×ÎÓ
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                         CLERK OF COURT


Date:
                                                                                                  Signature of Clerk or Deputy Clerk
